 JONES DAY
 Corinne Ball
 Todd Geremia
 Benjamin Rosenblum
 Andrew Butler
 250 Vesey Street
 New York, New York 10281
 Telephone:    (212) 326-3939
 Facsimile:    (212) 755-7306

Counsel for the Debtor
and Debtor in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
                                                              :
In re:                                                        :     Chapter 11
                                                              :
THE ROMAN CATHOLIC DIOCESE OF                                 :     Case No. 20-12345 (MG)
ROCKVILLE CENTRE, NEW YORK,                                   :
                                                              :
                  Debtor. 1                                   :


                             NOTICE OF THIRTY-FIRST
                            MONTHLY FEE STATEMENT
                        OF JONES DAY FOR COMPENSATION
                  FOR SERVICES RENDERED AND REIMBURSEMENT
                OF EXPENSES INCURRED AS COUNSEL TO THE DEBTOR
             FOR THE PERIOD FROM APRIL 1, 2023 THROUGH APRIL 30, 2023


Name of Applicant:                                Jones Day

Authorized to Provide Services to:                The Roman Catholic Diocese of Rockville Centre, New
                                                  York

Date of Retention:                                November 4, 2020, nunc pro tunc to October 1, 2020

Period for Which Compensation and                 April 1, 2023 through April 30, 2023
Expense Reimbursement is Sought:


         1
           The Debtor in this chapter 11 case is The Roman Catholic Diocese of Rockville Centre, New York, the last
four digits of its federal tax identification number are 7437, and its mailing address is P.O. Box 9023, Rockville Centre,
NY 11571-9023.
Amount of Compensation Requested    $1,480,692.00
(after 10% discount):

Less 20% Holdback:                  $296,136.40

Net of Holdback:                    $1,184,555.60

Amount of Expense Reimbursement
Requested:                          $32,392.24

Total Compensation (Net of
Holdback) and Expense
Reimbursement Requested:            $1,216,947.84
This is a                           X    Monthly        Interim    Final Fee Statement



                         [Remainder of Page Intentionally Blank]
         In accordance with the Order Authorizing Procedures for Interim Compensation and

Reimbursement of Expenses of Professionals, entered on November 4, 2020 [Docket No. 129]

(the “Interim Compensation Order”), 2 Jones Day hereby submits this thirty-first monthly fee

statement (the “Thirty-First Monthly Fee Statement”), seeking compensation for services rendered

and reimbursement of expenses incurred as counsel to the Debtor, for the period from April 1,

2023 through April 30, 2023 (the “Thirty-First Monthly Fee Period”). By this Thirty-First

Monthly Fee Statement, and after taking into account certain voluntary discounts, 3 Jones Day

seeks payment in the amount of $1,216,947.84 which comprises (i) 80% of the total amount of

compensation sought for actual and necessary services rendered during the Thirty-First Monthly

Fee Period and (ii) reimbursement of 100% of actual and necessary expenses incurred in

connection with such services.

                       SERVICES RENDERED AND EXPENSES INCURRED

                  1.       Attached hereto as Exhibit A is a summary of Jones Day professionals by

individual, setting forth the (a) name and title of each individual who provided services during the

Thirty-First Monthly Fee Period, (b) aggregate hours spent by each individual, (c) hourly billing

rate for each such individual at Jones Day’s then-current billing rates, (d) amount of fees earned

by each Jones Day professional, and (e) year of bar admission for each attorney. The blended




       2
         Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the Interim
Compensation Order.
         3
          The total amount sought for fees reflects (a) voluntary write offs in the amount of $10,035.50 in fees and
$697.10 in costs (b) application of a subsequent 10% discount on all fees, pursuant to an agreed practice between
Jones Day and the Debtor which was implemented prior to the Petition Date and disclosed in the Debtor’s retention
application.
hourly billing rate of Jones Day timekeepers during the Thirty-First Monthly Fee Period is

approximately $809.00. 4

                 2.      Attached hereto as Exhibit B is a summary of the services rendered and

compensation sought, by project category, for the Thirty-First Monthly Fee Period.

                 3.      Attached hereto as Exhibit C is a summary of expenses incurred and

reimbursement sought, by expense type, for the Thirty-First Monthly Fee Period.

                 4.      Attached hereto as Exhibit D is a copy of the Jones Day invoice for the

Thirty-First Monthly Fee Period.




        4
          The blended rate is comprised of all Jones Day timekeepers who provided services during the Thirtieth
Monthly Fee Period.



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                         NOTICE AND OBJECTION PROCEDURES

               5.      Notice of this Thirty-First Monthly Fee Statement shall be given to the

following parties (collectively, the “Notice Parties”): (i) The Roman Catholic Diocese of Rockville

Centre, P.O. Box 9023, Rockville Centre, NY 11571-9023 Attn: Thomas Renker, Email:

trenker@drvc.com; (ii) counsel to the Debtor, Jones Day, 250 Vesey Street, New York, NY 10281

Attn:   Corinne Ball, Esq., Email: cball@jonesday.com, Benjamin Rosenblum, Esq., Email:

brosenblum@jonesday.com,        and   Andrew Butler,       Esq.,   Email:   abutler@jonesday.com;

(iii) counsel to the Committee: Pachulski Stang Ziehl and Jones LLP, 780 Third Avenue, 36th

Floor, New York, New York, 10017, Attn: Ilan D. Scharf, Esq., Email: ischarf@pszjlaw.com,

Karen B. Dine, Esq., Email: kdine@pszjlaw.com, and Brittany M. Michael, Esq.,

bmichael@pszjlaw.com; and (iv) the Office of the United States Trustee, U.S. Federal Office

Building, 201 Varick Street, Suite 1006, New York, New York 10014, Attn: Greg Zipes, Email:

Greg.Zipes@usdoj.gov, and Shara Cornell, Email: Shara.Cornell@usdoj.gov.

               6.      Objections to this Thirty-First Monthly Fee Statement, if any, must be

served via electronic mail upon Jones Day, 250 Vesey Street, New York, New York 10281, Attn:

Benjamin Rosenblum (brosenblum@jonesday.com) and Andrew Butler (abutler@jonesday.com)

no later than June 12, 2023 at 5:00 p.m. (prevailing Eastern Time) (the “Objection Deadline”),

setting forth the nature of the objection and the specific amount of fees or expenses at issue.

               7.      If no objections to this Thirty-First Monthly Fee Statement are received by

the Objection Deadline, the Debtor shall promptly pay Jones Day 80% of the fees and 100% of the

expenses identified in this Thirty-First Monthly Fee Statement.

               8.      To the extent that an objection to the Thirty-First Monthly Fee Statement is

received on or before the Objection Deadline, the Debtor shall withhold payment of that portion




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of this Thirty-First Monthly Fee Statement to which the objection is directed and promptly pay the

remainder of the fees and expenses in the percentages set forth above. To the extent such an

objection is not resolved, it shall be preserved and scheduled for consideration at the next interim

fee application hearing.

                                     NO PRIOR REQUEST

               9.      No prior request for the relief sought in this Thirty-First Monthly Fee

Statement has been made to this or any other court.



 Dated: May 26, 2023                                  /s/ Corinne Ball
        New York, New York                            JONES DAY
                                                      Corinne Ball
                                                      Todd Geremia
                                                      Benjamin Rosenblum
                                                      Andrew Butler
                                                      250 Vesey Street
                                                      New York, NY 10281
                                                      Telephone:     (212) 326-3939
                                                      Facsimile:     (212) 755-7306
                                                      Email:         cball@jonesday.com
                                                                    trgeremia@jonesday.com
                                                                    brosenblum@jonesday.com
                                                                    abutler@jonesday.com

                                                      Counsel to the Debtor and
                                                      Debtor in Possession




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 EXHIBIT D

TIME DETAIL




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                                                      JONES DAY
                                                  New York Office
                                                    250 Vesey Street
                                               New York, NY 10281-1047
                                                     (212) 326-3939
                                      Federal Identification Number: XX-XXXXXXX


May 25, 2023                                                                                                            131253
                                                                                                            Invoice: 230903698
Diocese of Rockville Centre
Attn: Thomas G. Renker, Esq.
50 North Park Avenue
P.O. Box 9023
Rockville Centre, NY 11571-9023
United States of America

For legal services rendered for the period through April 30, 2023:

Asset Disposition                                                               201,722.50
Business Operations                                                               7,355.00
Case Administration                                                              15,295.00
Claims Administration and Objections                                            122,802.50
Court Hearings                                                                   25,252.50
Fee/Employment Applications                                                      19,602.50
Financing and Cash Collateral                                                     7,717.50
Litigation and Adversary Proceedings                                          1,002,100.00
Meetings                                                                         14,225.00
Non Working Travel                                                               15,427.50
Plan and Disclosure Statement                                                   220,570.00
                                                                                                  USD                 1,652,070.00

Less Client Discount:                                                                                                  (171,378.00)
                                                                                                  USD                 1,480,692.00

Total Billed Disbursements                                                                        USD                      32,392.24 **

TOTAL                                                                                             USD                 1,513,084.24




      ** = Food, beverage and entertainment expense in accordance with I R C Sect 274(e)3, included in this amount is USD262 03
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                              Disbursement & Charges Summary

Computerized Research Services                           23.79
Consultants and Agents Fees                           1,500.00
Courier Services                                        268.50
Court Reporter Fees                                   7,871.30
Document Reproduction Charges                         6,544.60
Filing Fees and Related                                 250.00
Hosting Charges                                      12,584.86
Local Transportation                                     16.50
Travel - Food and Beverage Expenses                     262.03
Travel - Hotel Charges                                2,473.35
Travel - Taxi Charges                                   528.99
Travel - Train Fare                                      10.75
United Parcel Service Charges                            57.57

                                                                 USD            32,392.24 **
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Timekeeper/Fee Earner                          Bar
Name                      Title                Year      Hours      Rate            Amount


Total                                                     60.70                   24,583.50

 R E Coates               Project Manager                  4.40    315.00           1,386.00
 S M Peterson             Project Manager                  1.60    360.00             576.00

Total                                                       6.00                    1,962.00


Total                                                   1,524.90    USD         1,480,692.00
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                                                      Fee Detail

Date of Service           Timekeeper/Fee Earner Name                                           Hours

Asset Disposition

04/03/23              C Ball                                                                     0.40
        Confer with Morin (Jones Day) regarding cell towers.

04/03/23               C Buck                                                                    1.00
        Attention to NDAs.

04/04/23             C Buck                                                                      3.40
        Revise NDAs.

04/04/23                N J Morin                                                           0.60
        Discuss sale matters with Rosenblum (Jones Day) (0.40); follow up with Ball (Jones Day) regarding same
        (0.20).

04/05/23               C Buck                                                                    1.50
        Review leases.

04/05/23                N J Morin                                                               0.90
        Review and revise draft cell tower sale order (0.40); confer with Ball (Jones Day) regarding same (0.30); call
        with White (Jefferies) regarding same (0.20).

04/06/23             C Buck                                                                      3.00
        Update NDA tracker and revise NDAs.

04/06/23                N J Morin                                                               0.60
        Call with Kane (Jefferies) on cell towers (0.20); confer with Ball (Jones Day) regarding same (0.10); revise cell
        tower sale order and circulate same to successful bidder (0.30).

04/07/23             C Ball                                                              1.20
        Communications with Morin (Jones Day) and Morgner (Jefferies) regarding Catholic Faith Network and exit
        financing.

04/07/23               C Buck                                                                    1.00
        Attention to NDAs.

04/07/23                 N J Morin                                                           0.50
        Correspond with Ball (Jones Day) regarding sale process (0.20); follow up with Buck (Jones Day) regarding
        same (0.10); follow up with Cassidy (Alston) regarding same (0.20).

04/10/23              C Ball                                                                     0.80
        Discuss CFN with Morin (Jones Day).
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04/10/23               C Buck                                                                   0.60
        Revise American Tower Sale Order.

04/10/23                 N J Morin                                                           1.00
        Correspond with StratCap team on cell tower sale (0.20); follow up with Ball (Jones Day) regarding same
        (0.10); communicate with Stang and Dine (both Pachulski) regarding same (0.20); call with White (Jefferies)
        and Stephens (Jones Day) on Committee discovery requests (0.30); communicate with American Tower team
        regarding cell tower sale (0.20).

04/11/23                C Buck                                                                  0.80
        Run redlines of NDAs and circulate.

04/11/23                 R E Coates                                                          0.50
        Communicate with case team regarding identification and collection of internal emails in preparation for
        attorney review.

04/11/23                 N J Morin                                                             2.00
        Call with Labuda (Sidley) and Stephens (Jones Day) regarding document requests (0.30); call with Dine
        (Pachulski) regarding sale (0.20); follow up with Ball (Jones Day) regarding same (0.50); revise sale order and
        circulate same to client (0.70); follow up discussions with Ball (Jones Day) (0.30).

04/12/23               C Ball                                                                 1.80
        Follow up with Jefferies regarding loan against spectrum (1.10); confer with Morin (Jones Day) regarding
        NDA (0.40); follow up with CFN and UCC with Morin (Jones Day) (0.30).

04/12/23               C Buck                                                                   0.60
        Emails regarding NDA.

04/12/23                 R E Coates                                                        0.80
        Communicate with case team and Consilio (eDiscovery provider) regarding identification and collection of
        internal emails in preparation for attorney review.

04/12/23                 N J Morin                                                           1.10
        Confer with Ohmer (Jones Day) on cell tower sale (0.50); follow up with Ball (Jones Day) regarding same
        (0.50); follow up with Ohmer (Jones Day) regarding same (0.10).

04/12/23               C D Ohmer                                                                1.00
        Coordinate with bankruptcy team (0.50); review real estate materials (0.50).

04/13/23                 J M Allan                                                             0.60
        Review Ohmer (Jones Day) correspondence regarding tax language (0.20); confer with Ohmer (Jones Day)
        regarding tax language (0.10); review Parrinello (Jones Day) email (.10); correspondence regarding same (0.10);
        review Ohmer (Jones Day) response (0.10).

04/13/23                C Ball                                                                  0.70
        Cell tower update regarding moving forward without Catholic Faith Network.
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04/13/23                 R E Coates                                                        0.70
        Communicate with case team and Consilio (eDiscovery provider) regarding identification and collection of
        internal emails in preparation for attorney review.

04/13/23                 N J Morin                                                               1.10
        Confer with Ball (Jones Day) regarding sale process (0.30); call with client regarding same (0.50); follow up
        with Ball (Jones Day) regarding same (0.30).

04/13/23                C D Ohmer                                                              6.50
        Review status of the real estate (1.50); draft amendments to the easements (2.00); draft consent form (2.50);
        coordinate with the tax team (0.50).

04/13/23              S P Parrinello                                                            0.30
        Confer with Ohmer (Jones Day) regarding easement tax comments.

04/14/23               C Buck                                                             2.00
        Revise NDAs (1.50); emails with Consilio (eDiscovery provider) and Jones Day team regarding document
        review (0.50).

04/14/23                A M Butler                                                              0.50
        Research regarding sale issues.

04/14/23               R E Coates                                                             2.40
        Communicate with Consilio (eDiscovery provider) and case team regarding processing specifications for
        electronic documents in preparation for internal document collection attorney review.

04/14/23                 N J Morin                                                              0.80
        Confer with Stephens (Jones Day) regarding review of documents related to Committee document production
        request (0.10); confer with Buck (Jones Day) regarding same (0.30); confer with Butler (Jones Day) on hearing
        scheduling regarding cell tower sale (0.20); follow up with Ball (Jones Day) regarding same (0.20).

04/15/23             C Buck                                                                     6.50
        Review documents for production.

04/15/23                 N J Morin                                                           9.50
        Review documents in connection with preparation of discovery production requested by Committee related to
        sale matters (9.00); follow up with Buck (Jones Day) and Consilio (eDiscovery provider) in respect of same
        (0.50).

04/16/23                  C Buck                                                               4.80
        Emails with Consilio (eDiscovery provider) and Jones Day team regarding searches to check production
        (1.00); redact privileged emails for production (0.80); finalize documents to be produced (3.00).

04/16/23                 N J Morin                                                              4.70
        Review documents in respect of document production regarding cell tower sale (1.00); follow up with
        Stephens (Jones Day) regarding same (0.50); revise cell tower sale order and confer with Ball (Jones Day)
        regarding same (1.00); call with Stephens and Buck (both Jones Day) regarding same (1.00); communicate with
        client regarding cell tower sale (0.50); follow up with Successful Bidder regarding same (0.20); follow up with
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         Stephens (Jones Day) regarding cell tower production (0.50).

04/17/23                C Buck                                                                  1.00
        Draft notice of hearing and revised sale order and finalize for filing.

04/17/23                 A M Butler                                                           1.00
        Assist with sale filings (0.50); confer with Morin and Buck (both Jones Day) regarding same (0.50).

04/17/23                 N J Morin                                                                 4.70
        Further review documentation related to Committee sale process discovery production (3.60); call with Ciriello
        (Alvarez & Marsal) and Butler (Jones Day) regarding sales processes (0.30); confer with Buck (Jones Day)
        regarding cell tower sale process (0.50); review notices of filing of revised sale order and revised order (0.30).

04/17/23               C D Ohmer                                                                1.00
        Coordinate with the bankruptcy team.

04/18/23                J M Allan                                                             0.50
        Review Morin (Jones Day) e-mail string regarding tax language (0.20); review Ball (Jones Day) correspondence
        regarding same (0.10); review Morin (Jones Day) response to Ball (Jones Day) (0.20).

04/18/23               C Buck                                                                   1.80
        Emails regarding NDAs (0.90); and run redlines of NDAs (0.90).

04/18/23             F C Dickson                                                                0.30
        Review communications regarding easement.

04/18/23                N J Morin                                                                0.90
        Confer with Ball, Sedlak and Parrinello (all Jones Day) regarding cell tower sale (0.70); follow up with Ball
        (Jones Day) regarding cell tower hearing (0.20).

04/18/23               C D Ohmer                                                                1.50
        Draft easements.

04/19/23                  J M Allan                                                            1.10
        Review Morin (Jones Day) correspondence regarding use of special purpose entity for holding spectrum
        licenses (0.20); confer with Morin (Jones Day) (0.10); review New York authority related to tax exemption
        issues (0.40); review Parrinello (Jones Day) correspondence regarding tax issues related to formation of SPV
        (0.10); communicate with team regarding form of SPV (0.10); review Ball (Jones Day) correspondence
        regarding SPV formation (0.10); review Parrinello (Jones Day) comments regarding tax exemption (0.10).

04/19/23              C Buck                                                                   1.60
        Revise NDAs (0.50); draft revised notice of hearing (0.60); review T-Mobile leases (0.50).

04/19/23                F C Dickson                                                             0.50
        Review emails regarding tax exemption and analysis of same.
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04/19/23                N J Morin                                                       0.40
        Communicate with Dine (Pachulski), Schmidt (Kramer) and chambers regarding hearing scheduling (0.20);
        review revised notice of hearing (0.20).

04/19/23                S P Parrinello                                                      0.50
        Confer with Ball, Morin and Allan (all Jones Day) regarding spectrum monetization income and property tax
        matters.

04/20/23                  J M Allan                                                          1.00
        Communicate with group regarding using single member LLC for SPV and tax exemption (0.20); review New
        York law regarding single member LLC’s and property tax issues (0.20); review series of e-mail regarding
        issues (0.20); review Morin and Parrinello (both Jones Day) correspondence regarding tax exposure (0.10);
        review Dickson (Jones Day) correspondence regarding tax exposure (0.10); review Ohmer (Jones Day)
        correspondence and documents related to sales process update and cell towers (0.20).

04/20/23               C Ball                                                                4.00
        Review CFN letter (0.80); communications with Renker and Fasano (both DRVC) regarding same (0.40);
        confer with Morin (Jones Day) regarding same (0.60); review and revise draft response (1.80); confer with
        Geremia (Jones Day) regarding same (0.40).

04/20/23                 F C Dickson                                                           2.70
        Analysis of transaction and related tax considerations.

04/20/23                 N J Morin                                                               2.80
        Communicate with Ball (Jones Day) and client regarding cell tower sale (0.50); follow up with Parrinello (Jones
        Day) regarding same (0.30); draft materials related to cell tower sale and circulate same to Ball (Jones Day)
        (0.70); revise same materials and recirculate same to Ball (Jones Day) (0.50); further revise draft
        correspondence and circulate same to Ball (Jones Day) (0.80).

04/20/23               C D Ohmer                                                              2.00
        Coordinate with the bankruptcy team (1.00); coordinate with local counsel (0.50); draft easements (0.50).

04/20/23                S P Parrinello                                                         1.30
        Review and analysis of prior real property tax analysis (0.30); confer with Dickson, Ohmer and Morin (all
        Jones Day) regarding the same (0.50); confer with Dickson and Griffith (both Jones Day) regarding exempt
        status for income tax purposes relating to spectrum monetization structure (0.50).

04/21/23                  J M Allan                                                             2.00
        Review Morin (Jones Day) correspondence regarding tax issues (0.10); review Morin and Parrinello (both
        Jones Day) correspondence regarding same (0.10); review Sahn (Jones Day) correspondence regarding analysis
        of tax issues for three properties (0.10); review Sahn (Jones Day) e-mail and attached documents (0.20); review
        Parrinello (Jones Day) correspondence regarding tax issues and attached documents (0.20); review Morin
        (Jones Day) correspondence regarding tax history (0.10); review Dickson (Jones Day) correspondence
        regarding tax related documents (0.10); participate in call with Parinello and Morin (both Jones Day) to discuss
        tax issues (0.40); review Parrinello (Jones Day) revisions (0.10); review and comment on Morin (Jones Day) e-
        mail regarding tax issues (0.10); review series of Morin (Jones Day) e-mail regarding tax issues and easement
        documentation (0.40); review Ohmer (Jones Day) correspondence and attached documents (0.10).

04/21/23                N J Morin                                                           2.90
        Review cell tower sale materials and exchange correspondence with Parrinello (Jones Day) and Allard (Kramer
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         Levin) regarding same (1.40); call with Ohmer (Jones Day), Parrinello (Jones Day) and Allard (Kramer Levin)
         (0.50); communicate with Cane (Jefferies) regarding cell tower sale (0.30); communicate with client regarding
         cell tower sale (0.50); follow up with Ohmer (Jones Day) regarding same (0.20).

04/21/23                C D Ohmer                                                              3.00
        Attention to tax issues (1.00); coordinate with bankruptcy team (0.80); draft consent form (0.50); revise form
        documents for bankruptcy team (0.70).

04/21/23               S P Parrinello                                                       1.00
        Review and analysis of Morin (Jones Day) email and easement draft language (0.50); conference call with Allan
        and Morin (both Jones Day) regarding property tax and tax exemption matters (0.50).

04/21/23               T Wiesel                                                                0.90
        Review Stratcap asset purchase agreement (0.20) and prepare list of closing deliverables (0.70).

04/24/23               J M Allan                                                         0.60
        Review Ohmer (Jones Day) correspondence (0.10); review Morin (Jones Day) correspondence regarding
        Options Agreement Consent (0.10); review Buck (Jones Day) correspondence and attached schedule (0.10);
        review Ohmer (Jones Day) correspondence and documents (0.30).

04/24/23                 C Buck                                                           2.70
        Emails with Vincequerra (Alston) and Jefferies regarding NDAs and revise NDAs (1.70); coordinate sending
        emails and letters regarding tenant estoppels (1.00).

04/24/23                 F C Dickson                                                           0.50
        Call with Griffith and Parrinello (both Jones Day) regarding tax matters (0.20); and analysis of same (0.30).

04/24/23                N J Morin                                                              2.50
        Confer with Wiesel (Jones Day) regarding cell tower sale (0.50); call with Ohmer (Jones Day) (0.30); draft
        correspondence regarding cell tower sale (0.50); coordinate with Ohmer (Jones Day) regarding same (0.20);
        confer with Buck (Jones Day) regarding cell tower sale (0.50); call with Dine (Pachulski) regarding sale (0.30);
        follow up with Ball (Jones Day) and White (Jefferies) regarding same (0.20).

04/24/23               C D Ohmer                                                                 5.00
        Coordinate with bankruptcy team (1.50); attention to real estate diligence items (3.50).

04/25/23              C Ball                                                                    0.50
        Confer with Morin (Jones Day) regarding cell tower situation and reply.

04/25/23                 C Buck                                                           7.30
        Finalize NDAs (0.30); draft response to CFN potential arguments (4.00); review CFN objection and start
        outlining reply (3.00).

04/25/23                F C Dickson                                                         1.50
        Analyze tax treatment for LLC (1.00); confer with Griffith (Jones Day) regarding same (0.50).
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04/25/23                N J Morin                                                             2.90
        Confer internally regarding sale process (0.50); communicate with Dine (Pachulski) regarding same (0.20);
        follow up internally regarding same (0.20); various calls throughout the day between Dine (Pachulski) and
        Schmidt (Kramer Levin) regarding cell tower sale (1.00); review CFN objection to sale (0.50); confer with
        Buck (Jones Day) regarding same (0.50).

04/25/23                 C D Ohmer                                                               1.00
        Attention to real estate deliverables.

04/25/23                S P Parrinello                                                      0.30
        Attention to correspondence regarding spectrum monetization structure and related tax exemption matters.

04/25/23               B Rosenblum                                                               0.10
        Review correspondence regarding asset disposition.

04/25/23                B C Sandberg                                                           2.10
        Confer with Buck and Tawil (both Jones Day) regarding research (0.30); research implied covenant application
        to pre-approval post-petition contracts (1.60); draft and send findings to Buck (Jones Day) (0.20).

04/26/23               C Ball                                                               2.10
        Review parish charts and analysis (0.90); follow up with Rosenblum (Jones Day) regarding same (0.60);
        communications with Alvarez & Marsal regarding same (0.60).

04/26/23               C Buck                                                                 4.30
        Research and draft reply to CFN response (4.00); call with Alston regarding estoppel certificates (0.30).

04/26/23                 A M Butler                                                              0.40
        Assist with sale hearing logistics.

04/26/23                 N J Morin                                                               7.00
        Revise cell tower sale order and circulate same to buyer (1.00); draft, review and revise reply in support of cell
        tower sale (4.00); review caselaw in respect of same (2.00).

04/26/23                 C D Ohmer                                                               1.50
        Attention to real estate deliverables.

04/26/23                  B C Sandberg                                                      4.80
        Research cases for reply to CFN objection (0.90); confer with Morin (Jones Day) regarding reply (0.20); review
        all cases cited by reply and analyze for key facts and holdings (3.70).

04/26/23                  T Wiesel                                                               0.30
        Draft Seller's bring down certificate (0.20); and review other closing deliverables (0.10).

04/27/23                 N J Morin                                                               7.30
        Revise draft sale reply and circulate same to Ball (Jones Day) for her review (1.00); confer with Ohmer (Jones
        Day) regarding cell tower sale workstreams (0.30); review and revise reply and recirculate same to Ball (Jones
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         Day) (2.00); review caselaw regarding same (3.00); revise reply and circulate same to client (1.00).

04/27/23                 C D Ohmer                                                                3.50
        Attention to real estate deliverables (2.00); coordinate with local counsel (1.00); coordinate with bankruptcy
        team (0.50).

04/27/23                B C Sandberg                                                             7.20
        Review and analyze cases cited for potential support (1.20); research case law supporting the applicability of
        363(f) to executory contracts (2.10); read, review, and shepardize all cases cited for potential adverse treatment
        (3.90).

04/27/23               T Wiesel                                                            1.60
        Draft assignment and assumption agreement for leases and consent to assignment of leases.

04/28/23              J M Allan                                                                     0.20
        Review Dickson (Jones Day) correspondence regarding tax exemption procedures.

04/28/23                 C Buck                                                                    2.50
        Revise reply brief (1.00); draft notice of revised sale order (0.50); emails regarding service of filings (1.00).

04/28/23                F C Dickson                                                                 1.00
        Draft/revise correspondence on tax exemption.

04/28/23                 N J Morin                                                                 4.70
        Review caselaw and revise reply for filing (3.00); prepare revised draft sale order for filing (0.30); confer with
        Buck (Jones Day) regarding filings (0.20); multiple calls with Dine (Pachulski) on sale matters (0.70); multiple
        calls with Allard (Kramer) on sale matters (0.50).

04/28/23                 C D Ohmer                                                                  3.50
        Attention to real estate deliverables (2.50); coordinate with local counsel (1.00).

04/28/23                 B C Sandberg                                                       1.80
        Review cases before meeting with Morin (Jones Day) regarding reply (0.60); confer with Morin (Jones Day)
        regarding reply (0.30); review cases and send summary to Morin (Jones Day) (0.90).

04/29/23              C Ball                                                                        0.30
        Confer with Morin (Jones Day) regarding loan process on spectrum.

04/29/23                N J Morin                                                                1.30
        Revise cell tower sale order and circulate same to Ball (Jones Day) (0.70); follow up discussions with Ball
        (Jones Day) (0.20); call with Allard (Kramer) (0.20); call with Dine (Pachulski) (0.20).

04/30/23              C Ball                                                             1.30
        Confer with Morin (Jones Day) regarding negotiations with UCC/CFN (0.70); review comment and
        communications to Renker (DRVC) regarding same (0.60).
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04/30/23                 N J Morin                                                                1.20
        Circulate revised sale order to client (0.30); follow up with client regarding same (0.30); call with Ciriello
        (Alvarez & Marsal) regarding same (0.40); circulate revised sale order to Kramer (Reed Smith) and Pachulski
        (0.20).


                         Matter Total                                                        191.40


Business Operations

04/03/23                 A M Butler                                                             2.10
        Confer with client regarding operations issues (0.90); call with Ciriello (Alvarez & Marsal) regarding same
        (0.90); confer with Ball (Jones Day) regarding same (0.30).

04/04/23                  A M Butler                                                           2.00
        Call with client regarding business operations issues (1.50); confer with Rosenblum (Jones Day) regarding
        same (0.30); confer with Ball (Jones Day) regarding same (0.20).

04/06/23                A M Butler                                                             0.50
        Confer with client regarding business operations issues.

04/12/23             B Rosenblum                                                               0.10
        Communicate with Renker (DRVC) regarding Department of Education inquiry.

04/13/23                A M Butler                                                             0.50
        Confer with client regarding business operations issues.

04/21/23                A M Butler                                                             0.20
        Confer with client regarding business operations issues.

04/26/23                A M Butler                                                             0.70
        Review business operations questions from client (0.30); confer with client regarding same (0.20); confer with
        Heuer (parish counsel) regarding questions on business issues (0.20).

04/27/23                A M Butler                                                             0.40
        Confer with client regarding business operations issues.

04/28/23                A M Butler                                                             0.30
        Confer with client regarding business operations issues.

04/30/23               A M Butler                                                              0.50
        Review business operations questions from client and respond to same.


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04/03/23                B Rosenblum                                                          2.60
        Revise claims analysis (2.50); review withdrawal notice and confer with Geremia (Jones Day) regarding same
        (0.10).

04/03/23                A R Tawil                                                                0.10
        Attend to email regarding hearing agenda.

04/04/23                 A M Butler                                                           1.30
        Prepare for upcoming claim objection hearing (0.50); revise agenda and file same (0.50); confer with chambers
        regarding logistics issues (0.30).

04/04/23                 M K Chan                                                                 3.60
        Confer with Del Medico (Jones Day) regarding materials for Ninth Omnibus objection (0.10); confer with
        Gugg (Jones Day) regarding index of cases for hearing binder (0.10); confer with Geremia (Jones Day)
        regarding chart of notice objections for hearing (0.20); draft/revise chart of notice allegations in complaints in
        connection with hearing (2.80); review/analyze Tenth Omnibus Objection, opposition, reply, and cases cited
        in preparation for hearing (0.40).

04/04/23                J L Del Medico                                                        9.50
        Analyze objections (3.50); confer with Geremia (Jones Day) regarding strategy (0.50); analyze case law (2.50);
        prepare for argument on ninth objection (3.00).

04/04/23               V Dorfman                                                               0.90
        Review and analyze court filings and materials relating to claim objections and scheduling and releases.

04/04/23                T R Geremia                                                              7.50
        Prepare for hearing on omnibus claims objections.

04/04/23                B Rosenblum                                                              0.10
        Confer with Ball (Jones Day) regarding other diocesan claim objections.

04/05/23               V Dorfman                                                                 0.80
        Review and analyze materials relating to releases.

04/05/23               T R Geremia                                                               4.80
        Prepare for omnibus claims objection hearing.

04/05/23               B Rosenblum                                                       0.30
        Confer with Geremia and Chan (both Jones Day) regarding claim hearing and follow up.

04/06/23               V Dorfman                                                                 0.80
        Review and analyze correspondence and materials relating to claim objections.

04/06/23                 T R Geremia                                                             2.80
        Draft letter regarding sixth omnibus claims objections.
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04/20/23               B Rosenblum                                                             0.10
        Review BSA claims and confer internally regarding same.

04/20/23               E P Stephens                                                            0.30
        Review claim objection decision and order.

04/21/23              T R Geremia                                                              0.30
        Review BSA Plan in connection with forthcoming omnibus objections.

04/21/23               B Rosenblum                                                          1.10
        Review and prepare objection to claims (1.00); confer with Geremia and Butler (both Jones Day) regarding
        same (0.10).

04/24/23                  A M Butler                                                        1.50
        Review next steps on upcoming claim objections (0.50); review claim objection transcript (0.50); review BSA
        materials (0.50).

04/24/23               M K Chan                                                               2.10
        Review/analyze motion and order on Boy Scouts injunction and Boy Scouts bankruptcy plan (1.10); confer
        with Geremia (Jones Day) regarding same (0.20); draft/revise letter to claimants’ counsel regarding Boy Scouts
        claims (0.80).

04/24/23                  T R Geremia                                                        2.30
        Draft letter notifying counsel of forthcoming objections based on BSA Plan (1.50); draft correspondence to
        client regarding claim objections (0.80).

04/24/23                C M Gugg                                                               0.60
        Draft claim resolution data schedule.

04/24/23                E P Stephens                                                      0.60
        Teleconference with Kramer (Reed Smith) regarding claim valuation and mediation preparation (0.30); claim
        valuation planning (0.30).

04/25/23                A M Butler                                                             1.00
        Attend to next steps on claim objection issues.

04/25/23                 M K Chan                                                              0.90
        Draft/revise letters to claimants’ counsel regarding Boy Scouts claims (0.70); confer with Geremia and Gugg
        (both Jones Day) regarding same (0.20).

04/25/23               V Dorfman                                                               1.90
        Review and analyze transcript of hearing and materials relating to claim objections.

04/25/23                 T R Geremia                                                           1.80
        Draft letter regarding forthcoming objections related to BSA Plan.
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04/30/23                B C Sandberg                                                        0.20
        Review email from Butler (Jones Day) and confer with him regarding claim objection.


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Court Hearings

04/05/23                A M Butler                                                            4.10
        Prepare for court hearing (0.50); attend court hearing (3.30); confer with Geremia, Del Medico (both Jones
        Day) regarding same (0.30).

04/05/23                 M K Chan                                                             3.30
        Participate in hearing on omnibus objections (3.00); review/analyze opposition for case briefed at hearing
        (0.20); confer with Geremia (Jones Day) regarding same (0.10).

04/05/23                J L Del Medico                                                          5.80
        Prepare for and participate in objections hearing (5.30); analyze case law received from claimant counsel post-
        hearing (0.50).

04/05/23                 T R Geremia                                                            2.50
        Participate in hearing on omnibus claims objections (2.20); report to client regarding same (0.30).

04/17/23                  B Rosenblum                                                           1.90
        Participate in discovery conference with court (1.20); confer with Geremia (Jones Day) in advance of same
        (0.10); draft summary of same (0.10); further internal discussion regarding discovery in connection with same
        (0.50).

04/25/23                 A M Butler                                                            2.80
        Prepare for hearing on fees (1.00); attend hearing on fees (1.10); confer with Rosenblum (Jones Day) regarding
        same (0.30); review and revise proposed order regarding hearing (0.40).

04/25/23                B Rosenblum                                                            0.70
        Prepare for and attend hearing.


                         Matter Total                                                          21.10


Fee/Employment Applications

04/12/23               A M Butler                                                              1.50
        Review and revise monthly fee statement.

04/13/23               A M Butler                                                              1.00
        Review and revise monthly fee statement.
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04/18/23              A M Butler                                                              1.50
        Review monthly fee statement.

04/19/23               A M Butler                                                             2.50
        Review and revise monthly fee statement.

04/19/23                C M Gugg                                                              1.60
        Begin drafting monthly fee statement.

04/21/23               A M Butler                                                             0.50
        Review and prepare to file hearing agenda on interim fee applications.

04/24/23                A M Butler                                                            0.50
        Prepare for hearing on interim fee applications.

04/25/23               C Ball                                                              0.70
        Confer with Butler (Jones Day) regarding fee hearing and follow up with Rosenblum (Jones Day).

04/26/23                A M Butler                                                            0.40
        Prepare revised order for chambers.

04/26/23               L C Fischer                                                             4.00
        Review and analyze updated conflict reports covering all interested parties and their parent companies in
        conjunction with preparing the Firm’s third supplemental disclosure as debtor’s counsel.

04/27/23                L C Fischer                                                            4.50
        Review and analyze updated conflict inquiry reports covering all interested parties and their parent companies
        in conjunction with preparing the Firm’s third supplemental disclosure as debtor’s counsel.

04/28/23                L C Fischer                                                            5.00
        Review and analyze updated conflict inquiry reports covering all interested parties and their parent companies
        in conjunction with preparing the Firm’s third supplemental disclosure as debtor’s counsel.

04/28/23               C M Gugg                                                               0.90
        Complete drafting of monthly fee statement.

04/28/23              B Rosenblum                                                             0.50
        Review monthly fee application.


                         Matter Total                                                        25.10


Financing and Cash Collateral
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04/12/23                 B Rosenblum                                                               2.00
        Participate in work in process call (1.00); participate in committee update call (1.00)

04/12/23                 E P Stephens                                                          0.60
        Teleconference with Ball, Rosenblum, Geremia, DiPompeo, Butler (all Jones Day), Kramer, Law, Berringer
        (all Reed Smith), and Ciriello (Alvarez & Marsal) regarding current status and next steps.

04/21/23               T R Geremia                                                                 0.50
        Attend meeting with restructuring counsel for parishes.

04/28/23                 T R Geremia                                                               1.30
        Call with restructuring counsel for parishes.


                          Matter Total                                                             9.20


Non Working Travel

04/17/23               J T Hoyt                                                                    2.00
        Travel to New York City for Oral Argument.

04/20/23               C J DiPompeo                                                                3.20
        Travel to Washington after trial on preliminary injunction.

04/20/23                 J T Hoyt                                                                  3.80
        Return travel to Washington, D.C.

04/21/23                 J T Hoyt                                                                  2.50
        Return travel to Washington, D.C.

04/25/23               B C Sandberg                                                                3.00
        Travel to/from Seminary for document review.

04/25/23                A R Tawil                                                         2.80
        Travel time to and from the Diocese Archives in the Seminary of the Immaculate Concepcion.

04/25/23                C Zepf                                                               3.00
        Travel with team to the archives of the Diocese of Rockville Centre in Lloyd Harbor, NY to conduct a manual
        search of insurance premium documentation.


                          Matter Total                                                            20.30


Plan and Disclosure Statement
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04/02/23             B Rosenblum                                                               0.10
        Communicate with Slome (parish counsel) regarding mediation.

04/03/23                 C Ball                                                             0.90
        Liquidity discussion with Butler (Jones Day) (0.50); follow up with Chapin and Doodian (both DRVC)
        regarding CHS (0.40).

04/04/23                 C Ball                                                                1.40
        Call regarding addressing liquidity issues.

04/05/23                C Ball                                                                 3.90
        Follow up CHS comments with Chapin (DRVC) and Ciriello (Alvarez & Marsal) (0.40); prepare draft of
        Bishop briefing materials (2.80); review written discovery and requests for admissions (0.70).

04/05/23               A M Butler                                                        0.70
        Confer with Jones Day team (Stephens, Ball, Rosenblum, Geremia) and Reed Smith team (Kramer, Berringer)
        and Moore (Alvarez & Marsal) regarding mediation issues.

04/05/23               E P Stephens                                                         0.70
        Teleconference with Ball, Rosenblum, DiPompeo, Geremia, Butler (all Jones Day), Kramer, Berringer (both
        Reed Smith), and Moore (Alvarez & Marsal) regarding current status and next steps (0.70).

04/06/23                 C Ball                                                             5.40
        Prepare Bishop briefing materials (4.20); confer with Geremia and Rosenblum (both Jones Day) regarding
        same (0.40); revise termsheet (0.60); communications with Gilardi (Ropes & Gray) regarding same (0.20).

04/07/23                 C Ball                                                              1.90
        Confer with Geremia (Jones Day) regarding briefing materials for anticipated mediation (0.40); review and
        revise briefing materials for anticipated mediation and discuss same with Renker (DRVC) (1.50).

04/07/23              T R Geremia                                                            5.80
        Draft memo to client to provide status update concerning case overall and mediation.

04/10/23             C Ball                                                                    0.40
        Review comments on briefing material.

04/10/23                T R Geremia                                                            2.70
        Revise client memo to provide overview of case and prepare for mediation.

04/11/23               C Ball                                                             0.70
        Review financing proposal (0.40); communications regarding same with Berringer (Reed Smith) (0.30).

04/11/23                B C Sandberg                                                           0.40
        Confer with Butler (Jones Day) regarding research project (0.20); review current draft of brief from Butler
        (Jones Day) (0.20).
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04/12/23             B Rosenblum                                                             0.10
        Communicate with Slome (parish counsel) regarding mediation.

04/13/23                 B Rosenblum                                                        2.10
        Preparation call with Reed Smith regarding settlement conference with Judge Cave (0.40); review/analyze
        chapter 11 plans (1.50); communications with Reed Smith concerning conference (0.20).

04/13/23                B C Sandberg                                                       3.70
        Research cases on motion to dismiss (2.60); draft case summaries and send same to Butler (Jones Day) (1.10).

04/14/23               C Ball                                                                0.70
        Update regarding mediation call from Rosenblum (Jones Day).

04/14/23                 A M Butler                                                          0.80
        Call with parish restructuring counsel (Slome, Driscoll, Heuer, Sorensen) and Rosenblum (Jones Day) (0.30);
        attention to mediation updates (0.50).

04/14/23                  B Rosenblum                                                        2.40
        Participate in settlement conference with Judge Cave and all parties (1.10); communicate with Kramer (Reed
        Smith) in advance of same (0.10); draft summary of Judge Cave conference (0.20); communicate with parish
        counsel regarding mediation (0.50); confer with Stephens (Jones Day) regarding mediation (0.30); confer with
        Ball (Jones Day) regarding same (0.20).

04/17/23               C Ball                                                              2.90
        Review DRVC expert report revisions (1.10); review UCC expert report (1.20); confer with Rosenblum (Jones
        Day) regarding mediation strategy (0.60).

04/17/23                B Rosenblum                                                         1.30
        Communicate with parish counsel regarding mediation (1.00); confer with Ball (Jones Day) regarding
        mediation (0.30).

04/18/23                 C Ball                                                              5.50
        Review order from Judge Cave (0.40); draft mediation materials (2.70); draft plan comparison for mediation
        (1.40); review new mediation orders (0.30); communications with Ciriello (Alvarez & Marsal) regarding parish
        worksheet (0.70).

04/19/23               R Alch                                                                0.50
        Confer with Butler and Zosel (both Jones Day) regarding draft of settlement trust agreement.

04/19/23                 A M Butler                                                         0.90
        Attend to next steps on drafting trust agreement (0.30); confer with Karamanos (Jones Day) regarding same
        (0.30); confer with Zosel and Alch (both Jones Day) regarding same (0.30).

04/19/23                B Rosenblum                                                           1.50
        Confer with Ball, Geremia, Butler (all Jones Day) regarding proposals on preliminary injunction and
        mediation.
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04/24/23                C M Gugg                                                                6.60
        Draft schedules in connection with mediation preparations.

04/25/23                  C Ball                                                                  6.10
        Draft, circulate and revise materials for mediation preparation call with client (3.80); communications with
        Renker (DRVC) regarding same (0.40); confer with Gugg (Jones Day) regarding identification of parishes and
        available net asset information as well as state court counsel (1.90).

04/25/23               T R Geremia                                                              0.40
        Prepare for mediation.

04/25/23                C M Gugg                                                                6.80
        Continue drafting schedules in connection with mediation preparations.

04/25/23                B Rosenblum                                                             0.50
        Prepare materials for mediation.

04/25/23                 D M Zosel                                                              1.00
        Draft trust agreement for settlement of claims (0.10); research trust language using precedent (0.90).

04/26/23                C Ball                                                              2.50
        Mediation preparation call with Fasano, Renker (both DRVC), Moore (Alvarez & Marsal), Rosenblum and
        Stephens (both Jones Day) (1.60); prepare for same (0.50); confer with Morin (Jones Day) regarding reply and
        revisions to same (0.40).

04/26/23                  A M Butler                                                          3.00
        Call with client regarding mediation (1.20); call with Committee regarding mediation (0.20); call with Ciriello
        (Alvarez & Marsal) regarding same (0.30); prepare for upcoming meetings with client regarding same (0.50);
        review files regarding mediation (0.50); confer with Rosenblum and Geremia (both Jones Day) regarding same
        (0.30).

04/26/23               T R Geremia                                                           4.20
        Draft mediation statement (2.50); meet to plan for mediation (1.20); outreach to counsel for parishes in
        connection with mediation (0.50).

04/26/23              C M Gugg                                                                  5.70
        Complete schedules in connection with mediation preparations.

04/26/23                B Rosenblum                                                              3.00
        Plan for and participate in mediation prep session with client (1.40); further discussions with Ball (Jones Day)
        regarding same (0.60); prepare analysis for mediation (0.50); review financial analyses in connection with
        mediation (0.50).

04/26/23                E P Stephens                                                          3.60
        Teleconference with Ball, Rosenblum, Geremia, Butler (all Jones Day), Moore, Ciriello (both Alvarez &
        Marsal), Renker, and Fasano (both DRVC) regarding mediation (1.00); teleconference with Butler (Jones Day),
        Dine, and Michael (both Pachulski) regarding current status (0.10); mediation preparation and planning (2.50).
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04/28/23               T R Geremia                                                           2.70
        Draft mediation statement.

04/28/23             B Rosenblum                                                            1.40
        Communicate with parish counsel regarding mediation (1.00); confer with Ball (Jones Day) regarding same
        (0.40).

04/28/23                 E P Stephens                                                     4.50
        Teleconference with Ball, Rosenblum, Butler, Geremia (all Jones Day), Slome, DiConza, Heuer, Driscoll,
        McMahon, Sorenson, and Hulme (all parish counsel) regarding mediation and next steps (1.00); mediation
        planning (3.50).

04/28/23                  D M Zosel                                                          1.00
        Revise trust agreement against precedent (0.80); confer with Butler and Alch (both Jones Day) regarding
        revisions (0.20).

04/29/23               C Ball                                                                0.40
        Confer with Butler (Jones Day) regarding mediation materials.

04/30/23               C Ball                                                                0.70
        Confer with Butler (Jones Day) regarding revisions to mediation materials.

04/30/23               A M Butler                                                            2.00
        Review next steps on mediation materials.

04/30/23               T R Geremia                                                           6.10
        Draft mediation statement to co-mediators.


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                                             Disbursement Detail


Date                        Timekeeper/Fee Earner Name                             Location       Amount             Total
Case Administration

COMPUTERIZED RESEARCH SERVICES
04/06/23                 P E Smith                                                  NYC              23.79
        Vendor: Courtalert Com Inc; Invoice#: 121013-2303; Date: 3/31/2023 - March 2023
Computerized Research Services Subtotal                                                                              23.79

CONSULTANTS AND AGENTS FEES
04/17/23                A M Butler                                                NYC         1,500.00
        Vendor: DeLawder Communications, Inc.; Invoice#: 5946 (Spectrum Consultant Fees for Frequency Coverage
        Survey)
Consultants and Agents Fees Subtotal                                                                          1,500.00

COURIER SERVICES
04/19/23                 C M Gugg                                                        NYC           250.00
        Vendor: Legal Retrieval Services, Inc.; Invoice#: 13152; Date: 4/12/2023 (delivery of 4 boxes to United States
        Bankruptcy Court - Southern District of New York)
04/24/23                 NYC Accounting                                                  NYC             9.25
        Vendor: Transportation Consultants Of America In; Invoice#: 172123-172231; Date: 4/24/2023- US Bankcruptcy
        Court,NY 03/31/23

04/24/23                 NYC Accounting                                             NYC            9.25
        Vendor: Transportation Consultants Of America In; Invoice#: 172123-172231; Date: 4/24/2023- US Bankcruptcy
        Court,NY 4/4/2023

Courier Services Subtotal                                                                                           268.50

COURT REPORTER FEES
04/06/23                  N J Morin                                                    NYC         1,394.30
        Vendor: Veritext LLC; Invoice#: 6422606; Date: 3/13/2023 - (transcript - auction 3/1/2023)
04/10/23                  A M Butler                                                   NYC         1,131.35
        Vendor: Veritext LLC; Invoice#: 6489029; Date: 4/7/2023 (transcript - case no. 20-12345 4/5/2023)
04/18/23                  T R Geremia                                                  NYC         1,818.50
        Vendor: TSG Reporting, Inc.; Invoice#: 2106593; Date: 3/15/2023 (telephonic transcript - Eric Stephens 3/10/2023)
04/25/23                  A M Butler                                                   NYC         2,141.70
        Vendor: Veritext LLC; Invoice#: 6520561; Date: 4/24/2023 (transcript - case no. 12345 4/19/2023)
04/25/23                  A M Butler                                                   NYC           629.20
        Vendor: Veritext LLC; Invoice#: 6523233; Date: 4/24/2023 (hearing transcript - case no. 20-12345 3/28/2023)
04/26/23                  A M Butler                                                   NYC           756.25
        Vendor: Veritext LLC; Invoice#: 6524032; Date: 4/25/2023 (transcript - case no. 20-12345 4/20/2023)
Court Reporter Fees Subtotal                                                                                       7,871.30

DOCUMENT REPRODUCTION CHARGES
04/10/23                 C M Gugg                                                NYC        1,305.60
        Photocopying: Black & White (SDUP)-NY - 31 Duplicating - Xerox D110-Apr 10 2023 6:54PM
                                               JONES DAY
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Diocese of Rockville Centre                                                               Invoice: 230903698


Date                      Timekeeper/Fee Earner Name                              Location       Amount             Total
04/10/23                  C M Gugg                                                NYC          712.00
        Photocopying: Black & White (SDUP)-NY - 31 Duplicating - Xerox 4112-Apr 10 2023 1:52PM
04/10/23                  C M Gugg                                                NYC        2,883.40
        Photocopying: Black & White (SDUP)-NY - 31 Duplicating - Xerox D110-Apr 10 2023 5:06PM
04/11/23                  C M Gugg                                                NYC          467.60
        Photocopying: Black & White (SDUP)-NY - 31 Duplicating - Xerox D110-Apr 11 2023 11:36AM
04/30/23                  N P Yeary                                               NYC        1,176.00
        Color duplication charges 04/27/2023- 1,176 pages at $1.00 per page
Document Reproduction Charges Subtotal                                                                           6,544.60

TRAVEL - FOOD AND BEVERAGE EXPENSES
04/27/23                      J T Hoyt                                                 WAS          13.79
         Vendor: Joshua T Hoyt Invoice#: 5862712604271216 Date: 4/27/2023 - - Breakfast New York, NY Blue Bottle
         Coffee (Prepare for and attend preliminary injunction trial)
04/27/23                      J T Hoyt                                                 WAS          18.03
         Vendor: Joshua T Hoyt Invoice#: 5862712604271216 Date: 4/27/2023 - - Dinner New York, NY Naya Vesey
         (Prepare for and attend preliminary injunction trial)
04/27/23                      J T Hoyt                                                 WAS          79.88
         Vendor: Joshua T Hoyt Invoice#: 5862712604271216 Date: 4/27/2023 - - Lunch New York, NY 50 Broadway with
         Todd Geremia, Jennifer Del Medico, and Chri DiPompeo (Prepare for and attend preliminary injunction trial)
04/27/23                      J T Hoyt                                                 WAS            6.15
         Vendor: Joshua T Hoyt Invoice#: 5862712604271216 Date: 4/27/2023 - - Breakfast New York, NY Caffé
         Americano (Prepare for and attend preliminary injunction trial)
04/27/23                      J T Hoyt                                                 WAS          11.98
         Vendor: Joshua T Hoyt Invoice#: 5862712604271216 Date: 4/27/2023 - - Breakfast New York, NY 50 Broadway
         (Prepare for and attend preliminary injunction trial)
04/27/23                      J T Hoyt                                                 WAS          52.55
         Vendor: Joshua T Hoyt Invoice#: 5862712604271216 Date: 4/27/2023 - - Dinner New York, NY Mighty Quinn's
         BBQ with Chris DiPompeo (Prepare for and attend preliminary injunction trial)
04/27/23                      J T Hoyt                                                 WAS            5.06
         Vendor: Joshua T Hoyt Invoice#: 5862712604271216 Date: 4/27/2023 - - Breakfast New York, NY Caffé
         Americano (Prepare for and attend preliminary injunction trial)
04/27/23                      J T Hoyt                                                 WAS            3.91
         Vendor: Joshua T Hoyt Invoice#: 5862712604271216 Date: 4/27/2023 - - Hotel - Meals Other New York, NY
         Beverage (Prepare for and attend preliminary injunction trial)
04/27/23                      J T Hoyt                                                 WAS          60.20
         Vendor: Joshua T Hoyt Invoice#: 5862712604271216 Date: 4/27/2023 - - Dinner New York, NY Oharas (Prepare
         for and attend preliminary injunction trial)
04/27/23                      W P Quaranta                                             NYC          10.48
         Vendor: William P Quaranta Invoice#: 5858104904271216 Date: 4/27/2023 - - Meals Other Waters for second day
         of trial - April 20, 2023.
Travel - Food and Beverage Expenses Subtotal                                                                        262.03

FILING FEES AND RELATED
04/17/23                 C Pizzarello                                                   NYC          250.00
        Vendor: Legal Retrieval Services, Inc.; Invoice#: 13115; Date: 4/7/2023 (4 banker's boxes @ US Bankruptcy Court -
        SDNY)
Filing Fees and Related Subtotal                                                                                    250.00

HOSTING CHARGES
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Diocese of Rockville Centre                                                             Invoice: 230903698


Date                     Timekeeper/Fee Earner Name                             Location       Amount             Total
04/17/23                 S M Peterson                                             NYC        12,584.86
        Vendor: Xact Data Discovery; Invoice#: XDD069607; Date: 3/31/2023 (Project Challenge - March 2023)
Hosting Charges Subtotal                                                                                      12,584.86

TRAVEL - HOTEL CHARGES
04/25/23                    W P Quaranta                                              NYC          23.35
         Vendor: Flik International Corporation; Invoice#: 1295300979; Date: 4/20/2023 - FLIK INTERNATIONAL INC.
         4/18/2023 (L - with guest C. Moore)
04/27/23                    J T Hoyt                                                  WAS         560.03
         Vendor: Joshua T Hoyt Invoice#: 5862712604271216 Date: 4/27/2023 - - Lodging New York, NY (Prepare for and
         attend preliminary injunction trial)
04/27/23                    J T Hoyt                                                  WAS         807.89
         Vendor: Joshua T Hoyt Invoice#: 5862712604271216 Date: 4/27/2023 - - Lodging New York, NY (Prepare for and
         attend preliminary injunction trial)
04/27/23                    J T Hoyt                                                  WAS         745.93
         Vendor: Joshua T Hoyt Invoice#: 5862712604271216 Date: 4/27/2023 - - Lodging New York, NY Marriott
         Downtown (Prepare for and attend preliminary injunction trial)
04/27/23                    J L Del Medico                                            NYC         336.15
         Vendor: Jennifer Del Medico Invoice#: 5859309304271216 Date: 4/27/2023 - - Lodging Prepare for PI hearing.
Travel - Hotel Charges Subtotal                                                                               2,473.35

LOCAL TRANSPORTATION
04/27/23                   J T Hoyt                                             WAS          2.75
        Vendor: Joshua T Hoyt Invoice#: 5862712604271216 Date: 4/27/2023 - - Subway/Bus New York, NY Subway
        (Prepare for and attend preliminary injunction trial)
04/27/23                   J T Hoyt                                             WAS          2.75
        Vendor: Joshua T Hoyt Invoice#: 5862712604271216 Date: 4/27/2023 - - Subway/Bus New York, NY Subway
        (Prepare for and attend preliminary injunction trial)
04/27/23                   J T Hoyt                                             WAS         11.00
        Vendor: Joshua T Hoyt Invoice#: 5862712604271216 Date: 4/27/2023 - - Subway/Bus Newark, NJ Subway
        (Prepare for and attend preliminary injunction trial)
Local Transportation Subtotal                                                                              16.50

TRAVEL - TAXI CHARGES
04/12/23                  S J Hill                                                 NYC            70.99
        Vendor: Dial Car Inc; Invoice#: 50158; Date: 3/22/2023- from 250 Vesey St ON VESEY WAIT ROUND TRIP
        (State Hwy 9a / N End Ave)      to 250 Vesey St (State Hwy 9a / N End Ave) …. additional stop$24- waitng time
        $6 03/13/2023 Hill, Steven

04/13/23                 N J Morin                                                  NYC          167.88
        Vendor: Executive Charge Inc; Invoice#: 6042186; Date: 4/7/2023---   from 250 Vesey Street/suv to 1
        BOWLING GREEN …. 03/14/23 MORIN NICHOLAS

04/20/23                  A M Butler                                              NYC         29.93
        Vendor: Andrew M Butler Invoice#: 5839442104201216 Date: 4/20/2023 - - Taxi Fare home
04/24/23                  T R Geremia                                             NYC        133.36
        Vendor: Dial Car Inc; Invoice#: 50419-A; Date: 3/29/2023-- from 250 Vesey St ON VESEY (State Hwy 9a / N
        End Ave)     to YONKERS, NY.: 36 Arthur Pl (Greystone Ter) ..... 03/20/2023 Geremia, Todd
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Diocese of Rockville Centre                                                               Invoice: 230903698


Date                      Timekeeper/Fee Earner Name                              Location       Amount                Total
04/27/23                    A R Tawil                                             NYC             45.43
         Vendor: Abraham R Tawil Invoice#: 5869117404271216 Date: 4/27/2023 - - Late Work - Taxi Work late in the
         office.
04/27/23                    J T Hoyt                                              WAS             14.97
         Vendor: Joshua T Hoyt Invoice#: 5862712604271216 Date: 4/27/2023 - - Taxi - Local Uber (Prepare for and attend
         preliminary injunction trial)
04/27/23                    J T Hoyt                                              WAS             15.82
         Vendor: Joshua T Hoyt Invoice#: 5862712604271216 Date: 4/27/2023 - - Taxi - Local Lyft (Prepare for and attend
         preliminary injunction trial)
04/27/23                    W P Quaranta                                          NYC             23.33
         Vendor: William P Quaranta Invoice#: 5857264904271216 Date: 4/27/2023 - - Taxi - Local For bringing trial
         documents to the courthouse on April 19, 2023.
04/27/23                    W P Quaranta                                          NYC             27.28
         Vendor: William P Quaranta Invoice#: 5858104904271216 Date: 4/27/2023 - - Taxi - Local Returning from
         courthouse with the files - April 20, 2023.
Travel - Taxi Charges Subtotal                                                                                     528.99

TRAVEL - TRAIN FARE
04/27/23                    J T Hoyt                                              WAS          10.75
         Vendor: Joshua T Hoyt Invoice#: 5862712604271216 Date: 4/27/2023 - - Train Dinner on Amtrak (Prepare for and
         attend preliminary injunction trial)
Travel - Train Fare Subtotal                                                                                    10.75

UNITED PARCEL SERVICE CHARGES
04/20/23                   NYC Accounting                                           NYC             11.59
        Vendor: United Parcel Service, Inc. Invoice#: 23000010445E163 Date: 4/22/2023 - -    Ship To: Christopher
        DiPompeo, Jones Day Ship Dt: 04/20/23 Airbill: 1Z10445E0396032756
04/24/23                   N J Morin                                                NYC             16.38
        Vendor: United Parcel Service, Inc. Invoice#: 23000010445E173 Date: 4/29/2023 - -    Ship To: , American
        Messaging Ship Dt: 04/24/23 Airbill: 1Z10445E0196353010
04/24/23                   N J Morin                                                NYC             14.80
        Vendor: United Parcel Service, Inc. Invoice#: 23000010445E173 Date: 4/29/2023 - -    Ship To: , Office of Nassau
        County Attorney Ship Dt: 04/24/23 Airbill: 1Z10445E0197917801
04/24/23                   N J Morin                                                NYC             14.80
        Vendor: United Parcel Service, Inc. Invoice#: 23000010445E173 Date: 4/29/2023 - -    Ship To: , AT&T Wireless
        Services Ship Dt: 04/24/23 Airbill: 1Z10445E0192428929
United Parcel Service Charges Subtotal                                                                                57.57

         Matter Total                                                                               USD            32,392.24
